       Case 2:20-cv-00365-KOB-HNJ Document 23 Filed 09/11/20 Page 1 of 1                                  FILED
                                                                                                 2020 Sep-11 PM 12:16
                      IN THE UNITED STATES DISTRICT COURT                                        U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

RENARD TUCKER,                                    ]
                                                  ]
       Plaintiff,                                 ]
                                                  ]
v.                                                ]        2:20-cv-365-KOB-HNJ
                                                  ]
                                                  ]
                                                  ]
                                                  ]
                                                  ]
ALABAMA DEPARTMENT OF
CORRECTIONS, et al.,

       Defendants.


                                              ORDER

       This matter comes before the court on the magistrate judge’s Report (doc. 19),

recommending that the court, at the plaintiff’s request (doc. 14), dismiss all of Plaintiff’s claims

against Defendant Warden Gwendolyn Givens because she was not serving as the Warden of

Donaldson Correctional Facility during the relevant time period.

       The court ADOPTS the magistrate judge’s report and ACCEPTS his recommendation.

The court GRANTS document 14 and DISMISSES WITHOUT PREJUDICE all of Plaintiff’s

claims against Defendant Warden Gwendolyn Givens. The court DISMISSES WITHOUT

PREJUDICE Defendant Warden Gwendolyn Givens as a party defendant.

       The case will proceed with the Plaintiff’s remaining claims against the remaining

Defendants.

       DONE and ORDERED this 11th day of September, 2020.



                                                      ____________________________________
                                                      KARON OWEN BOWDRE
                                                      UNITED STATES DISTRICT JUDGE
